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                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EARLANDO SAMUEL,                        )
                                        )
                     Plaintiff,         )
                                        )
             v.                         ) Civil Action No. 2:22-cv-2451
                                        )
THE DELAWARE COUNTY HOUSING             )
AUTHORITY, ET. AL.                      )
                                        )
                     Defendants.        )


 MEMORANDUM IN SUPPORT OF THE INGERMAN DEFENDANTS’ MOTION TO
    DISMISS PLAINTIFF EARLANDO SAMUEL’S AMENDED COMPLAINT
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       Defendants Ingerman Property Management1 (“Ingerman”), Rashida Smith, Ryann

Williams, Nefertiti Rivers, Terri Hardin, and Greg Warden (together “Ingerman Defendants”)

respectfully submit this Memorandum in support of their Motion to Dismiss the Amended

Complaint seeking dismissal of all claims asserted against them by Plaintiff Earlando Samuel.

I.     NATURE AND STAGE OF PROCEEDINGS

       Plaintiff filed a pro se complaint on June 20, 2022 and was granted leave to proceed in

forma pauperis. Plaintiff names 11 defendants that can be categorized in two groups: (1)

defendants associated with the Delaware County Housing Authority (DCHA), including several

of its employees; and (2) defendants associated with Ingerman, including several of its employees.

On December 29, 2022, before the Ingerman Defendants responded to Plaintiff’s initial Complaint,

Plaintiff filed an Amended Complaint adding additional allegations and causes of action.

       The claims arise from Plaintiff’s participation in the U.S. Department of Housing and

Urban Development’s (“HUD”) Section 8 Tenant-Based Housing Choice Voucher Program (the

“Section 8 Program”) and his experience as a tenant at an Ingerman apartment complex,

Birchwood at Concord. Though difficult to discern, Plaintiff alleges he held a two-bedroom

Housing Choice Voucher (HCV) and applied for a two-bedroom unit in the Birchwood at Concord

apartment complex in 2019. He alleges his HCV was fraudulently taken from him pursuant to a

conspiracy between Ingerman and DCHA and that Ingerman and DCHA harassed and retaliated

against him for raising concerns about, among other things, his HCV. He brings claims under the

Fair Housing Act, the Americans with Disabilities Act, several federal criminal statutes, The

Federal Trade Commission Act, the Pennsylvania Unfair Trade Practices and Consumer Protection



1
     Plaintiff erroneously filed the Amended Complaint against Ingerman Property Management,
     however, Ingerman’s correct legal name is Ingerman Management Company.
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Law, as well as a state common law claim for Intentional Infliction of Emotional Distress. As

detailed herein, Plaintiff fails to state a claim upon which relief may be granted for each of his

claims.2 Consequently, his Amended Complaint must be dismissed in its entirety against the

Ingerman Defendants.

II.     STATEMENT OF FACTS3

        A.      The Section 8 Housing Choice Voucher Program

        The Section 8 Program allows public housing agencies (“PHA”), typically state or local

government agencies, to enter into housing assistance payment (“HAP”) contracts with interested

property owners who agree to accept PHA assistance payments to subsidize rent payments of

tenants possessing Section 8 housing vouchers. See generally 42 U.S.C. §§ 1437f(a)-(k); 24 C.F.R.

pt. 982. To be approved for voucher assistance under the Section 8 Program, a tenant must be

certified by the PHA as income-eligible. 42 U.S.C. § 1437(f)(o)(1)-(5). Income-eligibility must be

verified annually by the PHA and voucher recipients are subject to reexamination at any time. 24

C.F.R. §§ 982.516(a)(1); 982.516(c)(1).

        Once a Section 8 tenant finds a unit, it must be approved for tenancy by the PHA. 42 U.S.C.

§ 1437(f)(o)(3). Essentially a tenant, working in conjunction with the property owner, will submit

a Request for Tenancy Approval (“RFTA”) to the PHA to determine whether the unit is eligible

based on the affordability for the family. 42 U.S.C. § 1437(f)(o)(3). Once the RFTA is approved

by the PHA, the PHA and property owner execute a HAP contract and the property owner and the

tenant execute a rental lease. 42 U.S.C. § 1437(f)(o)(7). Before any assistance payment is made,


2
      Ingerman also incorporates by reference all arguments made by the DCHA Defendants in their
      Motion to Dismiss Plaintiff’s Amended Complaint, Docket No. 40.
3
      For purposes of this Motion only, Defendants assume, without conceding, the truth of the
      allegations set forth in Plaintiff’s Complaint.



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the PHA inspects the unit to ascertain the unit’s compliance with codified housing quality

standards (“HQS”). 42 U.S.C. § 1437(f)(o)(8)(A). The unit is thereafter subject to biennial

inspections by the PHA. 42 U.S.C. § 1437(f)(o)(8)(D).

        B.     Alleged Events Prior to June 20, 2020.

        Plaintiff alleges he applied for an apartment at Ingerman Birchwood at Concord Point in

February 2019. Am. Compl. ¶ 2. He subsequently received an email advertisement for a two-

bedroom apartment available for rent at Ingerman Birchwood at Concord Point in October 2019.

Am. Compl. ¶ 4. He alleges he received a call on October 28, 2019 from RyAnn Williams,

Assistant Property Manager, that he had been approved for an apartment and could come into the

office to sign the necessary paperwork. Id. at ¶ 5. He alleges he met with Ms. Williams on October

29, 2019, but could not see the apartment because it was currently occupied. Id. at ¶ 7. He alleges

Ms. Williams distracted him while he signed the paperwork and suggested he look at the greenery

in the development via a walking trail, which he alleges constituted a “degree of impairment test.”

Id. at ¶ 8. He alleges he toured a one-bedroom unit on the first floor and told Ms. Williams “it was

workable in the 2 bedroom configuration.” Id. at ¶ 9. He alleges she had him sign a blank lease.

Id. at ¶ 8.

        Plaintiff alleges he delivered a sealed HCV Packet from the Delaware County Housing

Authority to Ms. Williams on November 6, 2019 and received a sealed packet from her in return.

Am. Compl. ¶ 9-10. He alleges he met with Rashida Smith, Senior Property Manager, on

November 11, 2019 to sign a lease, which he did not realize at the time was for a one-bedroom

apartment. Id. at ¶ 10.

        Plaintiff alleges he had an intake appointment on November 5, 2019 with the Delaware

County Housing Authority during which the DCHA rejected his information. Am. Compl. ¶ 11.

The DCHA gave him documentation for Ingerman to complete, which required an original and


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two copies of the lease. Id. at ¶ 11. Plaintiff alleges he returned to Ingerman Concord Point on

November 27, 2019 and received “another 25 page lease” from Ms. Smith. Id. at ¶ 12. He took

the lease back to DCHA and was provided paperwork in return to submit to Ingerman. Id. He

alleges that “this was a scheme…to deprive me of my two bedroom…voucher. It was fraudulently

taken and my account downgraded to a 1 bedroom through a process of manipulating dates,

numbers, and my signature[.]” Id. Plaintiff does not identify who is responsible for the alleged

manipulation. Id. Plaintiff alleges he felt he had no choice but to accept the one bedroom voucher

because he had to vacate his current apartment. Id. He alleges he accepted the one bedroom under

“undue influence” because he has a mild cognitive disorder for which he was not taking the proper

medication, though he does not allege he informed anyone at DCHA or Ingerman of his condition

or his lack of proper medication.

       Plaintiff alleges that after he started complaining about his two-bedroom voucher, the

stairs, and his need for a live-in aide, Ingerman employees colluded with his DCHA case worker,

Christina Pro, to harass him. Am. Compl. ¶ 13. In particular, he alleges Ms. Williams “harvested

privacy information” from his bank statements and told him he had to turn his television off at

10:30 PM and that he had a 10:30 PM curfew. Id. at ¶¶ 13-14.

       C.      Allegations Events After June 20, 2020.

       On July 6, 2020, Plaintiff received notice that a “mandatory pre-inspection” would occur

the following day. Am. Compl. ¶ 15. Ingerman’s Maintenance Manager, Greg Ward, visited

Plaintiff’s apartment at 9:30 the following morning and used his master key to enter Plaintiff’s

unit. Id. at ¶ 15. Plaintiff alleges he did not receive the required 48 hours’ notice of the inspection,

a concern he raised in a letter to Ms. Smith on July 15, 2020. Id.

       On March 1, 2021, Ingerman informed Plaintiff it had not received HAP payments for the

previous three months. Am. Compl. ¶ 17. When Plaintiff raised the issue with Ms. Pro, Ms. Pro


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responded that she corrected the issue and the payments should be received by Ingerman on or

about March 15, 2021. Id.

       On June 7, 2021, Plaintiff claims to have contacted Ms. Pro to resolve the issue regarding

his two-bedroom HCV. Am. Compl. ¶ 18. Ms. Pro sent Plaintiff a Notice of Lease and Contract,

which allegedly raised his out-of-pocket payment by 368% due to a change in family income or

family composition. Id. Plaintiff responded that the only increase in his income was a 1.3% Cost-

of-Living-Adjustment to his Supplemental Security Income. Id.

       On July 21, 2021, Plaintiff sent a complaint to the Pennsylvania Attorney’s General office

alleging he had defrauded by Ms. Pro and Terri Hardin, Ingerman Assistant Property Manager,

who purportedly held him responsible for full rent, increased his out-of-pocket payments, and

threatened him related to his pursuit to have his two-bedroom HCV reinstated. Am. Compl. ¶ 19.

The Attorney’s General office forwarded his complaint to the U.S. Department of Housing and

Urban Development (“HUD”). Id.

       On January 20, 2022, Plaintiff allegedly received a Notice of Delinquent Rent from Ms.

Rivers, stating he owed rent for November 2021, December 2021, and January 2022. Am. Compl.

¶¶ 26, 27. He paid the delinquent amount “under protest.” Id. at ¶ 27. Plaintiff allegedly received

a Five-Day Notice of Delinquent Rent on April 12, 2022, stating he owed a late fee and rental

balances from August 2021 through March 2022. Id. at ¶ 28. When Plaintiff inquired as to how

Ingerman determined he was delinquent, Ms. Rivers provided Plaintiff with a March 10, 2022

DCHA document reflecting an increase in his out-of-pocket expenses. Id. at ¶ 29; Ex.13. Plaintiff

asserts he was not given notice of the increase. Id. at ¶ 29. Plaintiff claims that Ms. Rivers, Ms.

Hardin and Dawn Ware, DCHA Senior HCV Specialist, and Ms. Pro manufactured documents




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and falsified statements to give the appearance that Plaintiff was behind on his rental payments in

an attempt to constructively evict him. Id. at ¶ 31.

        Plaintiff submitted a complaint to HUD on May 4, 2022 and sent a follow-up on June 6,

2022. Id. at ¶ 33. He also filed a police report on June 8, 2022. Id. at ¶ 34. Plaintiff still resides

at Birchwood at Concord Point and alleges that he continues to experience unspecified harassment

and retaliation. Id. at ¶ 27.

III.    LEGAL STANDARD

        In deciding a motion to dismiss pursuant to Rule 12(b)(6), the Court must accept as true all

well-pleaded factual allegations, and must view all facts, and reasonable inferences drawn

therefrom, in the light most favorable to the plaintiff. Kanter v. Barella, 489 F.3d 170, 177 (3d

Cir. 2007); General Motors Corp. v. New A.C. Chevrolet, Inc., 263 F.3d 296, 325 (3d Cir. 2001).

A court need not, however, accept unreasonable inferences, unwarranted deductions of fact, or

conclusory legal allegations contained in the complaint. General Motors Corp., 263 F.3d at 333

(3d Cir. 2001) (quoting James Wm. Moore, Moore's Federal Practice § 12.34[1][b], at 12-61 to

12-63 (3d ed. 2001) (explaining that “liberal construction has its limits” because the pleading must

set forth “sufficient information for the court to determine whether some recognized legal theory

exists on which relief could be accorded to the pleader... [c]onclusory allegations or legal

conclusions masquerading as factual conclusions will not suffice to prevent a motion to dismiss.”).

        A complaint may be dismissed where the facts pleaded, and the reasonable inferences

drawn from such facts, are insufficient to support the relief sought. Morse v. Lower Merion Sch.

Dist, 132 F.3d at 906 (3d Cir. 1997). Thus, Rule 12(b)(6) operates to weed out claims that, as in

this case, “are fatally flawed in their legal premises and destined to fail, and thus to spare litigants

the burden of unnecessary pretrial and trial activity.” Advanced Cardiovascular Sys. Inc. v. Scimed

Life Sys., Inc., 988 F.2d 1157, 1160 (Fed. Cir. 1993). A complaint filed by a pro se litigant is to


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be liberally construed and subject to less stringent standards than pleadings drafted by lawyers.

Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197 (2007) (internal citation omitted). “However,

a pro se complaint must still contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.” Baker v. Younkin, 529 F. App’x 114, 115 (3d Cir. 2013) (citing

Ashcroft v. Iqbal, 556 U.S. at 678, 129 S. Ct. 1937 (2009)) (internal quotation marks omitted).

IV.    ARGUMENT

       A.      Plaintiff’s Claims under the Fair Housing Act Fail as a Matter of Law.

       Plaintiff claims he has been “harassed, threatened, retaliated against, and…treated

unfairly” in violation of the Fair Housing Act because he filed complaints related to his two-

bedroom HCV and his live-in aide. As a matter of law, Plaintiff fails to state a violation of the

Fair Housing Act against any Ingerman Defendant.

       The Fair Housing Act provides that “[i]t shall be unlawful to coerce, intimidate, threaten,

or interfere with any person in the exercise or enjoyment of, or on account of his having exercised

or enjoyed . . . any right granted or protected by section 3603, 3604, 3605, or 3606 of this title.”

42 U.S.C. § 3617. HUD Regulations provide that unlawful conduct under § 3617 includes, among

other things, “[t]hreatening, intimidating or interfering with persons in their enjoyment of a

dwelling.” 24 C.F.R. 100.400(c)(2).

       To plead an interference claim under 42 U.S.C. § 3617, a plaintiff must assert: “(1) that the

plaintiff exercised or enjoyed any right protected by Sections 3603-3606; (2) that the defendant’s

conduct constitutes interference; and (3) a causal connection existed between the exercise or

enjoyment of the right and the defendant’s conduct.” Revock v. Cowpet Bay W. Condominium

Ass’n, 853 F.3d 96, 112-13 (3d Cir. 2017) (internal citations omitted). A retaliation claim requires

a plaintiff to establish that “(1) [he] engaged in a protected activity; (2) the defendant subjected

[him] to an adverse action; and (3) a causal link exists between the protected activity and the


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adverse action.” Lloyd v. Presby’s Inspired Life, 251 F. Supp. 3d 891, 904 (E.D. Pa. 2017) (internal

citations omitted). Plaintiff cannot make either showing.

       First, as a threshold matter, many of Plaintiff’s claims are barred by the FHA’s two-year

statute of limitations. Lloyd, 251 F.Supp.3d at 903 (“The Fair Housing Act's statute of limitations

provision states that an action must be filed in the appropriate federal or state court ‘not later than

2 years after the occurrence or the termination of an alleged discriminatory housing practice.’”)

(quoting 42 U.S.C. § 3613(a)(1)(A)). Plaintiff filed his initial Complaint on June 20, 2022; thus

any claims arising prior to June 20, 2020 are barred by the applicable statute of limitations.

       Plaintiff alleges the following conduct within the statute of limitations period (post-June

20, 2020) in which an Ingerman Defendant was involved:

              On July 15, 2020, Plaintiff sent a letter to Ms. Smith regarding his curfew and the
               lack of notice before Mr. Ward entered Plaintiff’s apartment for an inspection. Am.
               Compl. ¶¶14, 15.

              On July 21, 2021, Plaintiff submitted a complaint to the PA Attorney General
               regarding alleged wrongdoings by Ms. Pro and Ms. Harden, including that
               Ingerman held him responsible for the full amount of rent. Id. at ¶ 19.

              On August 18, 2021, Plaintiff emailed a cease and desist letter to Ms. Smith, Ms.
               Rivers, and Ms. Harden regarding unspecified “retaliatory acts and unfair
               treatment” to which he was being subjected. Id. at ¶ 19.

              Plaintiff’s out of pocket expenses increased to the full amount of rent for three
               months. Id. at ¶ 21.

              Ms. Rivers and Ms. Harden, with the aid of Ms. Ware and Ms. Pro, “manufactured
               documents and falsified statements” to give the appearance of Plaintiff being
               behind in rental payments. Id. at ¶ 31.

              Plaintiff filed a complaint with HUD on May 4, 2022 and followed up on June 6,
               2022. He also made a police report about “the wrongdoings.” Id. at ¶¶ 33-34.

              Plaintiff is still “being harassed, threatened, retaliated against, and…treated
               unfairly” by unspecified Defendants. Id. at ¶ 37.




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       Plaintiff’s sole factual allegation is that his out of pocket expenses increased to the full

amount of rent for three months. His own allegations bely this contention, however. Indeed,

Plaintiff notes that Ms. Pro made the necessary corrections and any late payments would be caught

up by March 15, 2021. Am. Compl. ¶ 17. Accordingly, Plaintiff did not experience an adverse

action nor did the conduct of any Ingerman Defendant interfere with Plaintiff’s use and enjoyment

of the property. See Davis v. Rubin, No. 20-CV-6271, 2020 U.S. Dist. LEXIS 240453, at *9 (E.D.

Pa. Dec. 22, 2020) (dismissing interference and retaliation claims under § 3613 where the

allegations failed to describe the alleged conduct with particular sufficiency nor did it plausibly

link protected activity to an adverse action or retaliatory motive). Thus, Plaintiff’s allegation that

he believed he was responsible for the full amount of rent is insufficient to state a claim of

interference or retaliation under the Fair Housing Act.

       Otherwise, Plaintiff uses the terms “harassment” and “retaliation” without a single

supporting fact, which is insufficient to state a claim. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555, 127 S. Ct. 1955 (2007). Consequently, Plaintiff’s claims under the Fair Housing Act against

the Ingerman Defendants must be dismissed.

       B.      Plaintiff’s Claim under the Americans with Disabilities Act Fails as a Matter
               of Law.

       Plaintiff asserts a claim under Title III of the Americans with Disabilities Act, 42 U.S.C.

§12182, which provides that “[n]o individual shall be discriminated against on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns, leases (or

leases to), or operates a place of public accommodation.” To state a claim, Plaintiff must allege

that: “(1) he was discriminated against on the basis of disability; (2) in the full and equal enjoyment

of the goods, services, facilities, privileges, advantages, or accommodations of any place of public



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accommodation; (3) by any person who owns or operates a place of public accommodation.”

Mahdi Sufi El v. People's Emergency Ctr., 315 F. Supp. 3d 837, 843 (E.D. Pa. 2018) (quoting

Disability Rights N.J., Inc. v. Comm'r, New Jersey Dep't of Human Servs., 796 F.3d 293, 301 (3d

Cir. 2015). Plaintiff fails to state a claim under the ADA for several reasons.

       First, while “public accommodations” may include “places of lodging”, the regulations

limit a “place of lodging” to guest rooms for short-term sleeping stays where the occupant does

not have the right to return to a specific room or unit after the conclusion of his or their stay. See

28 C.F.R. § 36.104. Indeed, “apartments and condominiums do not constitute public

accommodations[.]” People's Emergency Ctr., 315 F. Supp. at 843 (citing Mitchell v. Walters,

No. 10-1061, 2010 U.S. Dist. LEXIS 93265 at *4 (D.N.J. Sept. 8, 2010). This is true “even where

the property accepts tenants receiving federal housing subsidies[.]” Id. (citing Mitchell v. Walters,

No. 10-1061, 2010 U.S. Dist. LEXIS 93265 at *4 (D.N.J. Sept. 8, 2010)). Plaintiff’s claim under

the ADA should be dismissed on that basis alone.

       Further, damages are not an available remedy in a private action under Title III of the ADA.

Anderson v. Macy's, Inc., 943 F. Supp. 2d 531, 538 (W.D. Pa. 2013). Rather, only injunctive relief

is available. Id. Here, Plaintiff fails to allege any facts from which the Court may liberally

construe a claim for prospective injunctive relief. See Pavalone v. Pres. Mgmt., No. 3:18-cv-

00191, 2019 U.S. Dist. LEXIS 4101, at *15 (M.D. Pa. Jan. 8, 2019) (citing Berardelli v. Allied

Servs. Inst. of Rehab. Med., Civil Action No. 3:14-0691, 2016 U.S. Dist. LEXIS 135358, at *7

(M.D. Pa. Sept. 30, 2016) (dismissing ADA claim where “[t]he only relief request…is an award

of damages” and the plaintiffs failed to allege a claim for prospective injunctive relief). For this

reason, too, Plaintiff’s claim under the ADA should be dismissed.




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       Finally, even if Plaintiff could overcome these barriers, his factual allegations are

insufficient to state a claim. Indeed, Plaintiff fails to allege that he requested, and that Ingerman

denied, any accommodation. Nor does he allege he informed Ingerman of any alleged disability.

Thus, even if Ingerman was covered under Title III of the ADA and Plaintiff sought any form of

injunctive relief, both of which Ingerman denies, Plaintiff nonetheless fails to set forth facts

permitting a plausible inference that Ingerman discriminated against him on the basis of a

disability. For all of these reasons, Plaintiff’s ADA claim against the Ingerman Defendants must

be dismissed.

       C.       Plaintiff Lacks Standing to Assert Claims Under Federal Criminal Statutes.

       Plaintiff alleges the Ingerman Defendants violated 18 U.S.C. § 241 (Conspiracy Against

Rights) and 18 U.S.C. § 2261A (Stalking), each of which are federal criminal statutes. To the

extent Plaintiff seeks to impose criminal liability upon the Ingerman Defendants pursuant to these

criminal statutes, he lacks standing to proceed. See Allen v. Administrative Office of Pennsylvania

Courts, 270 F. App’x 149, 150 (3d Cir. 2008); (dismissing claims under 18 U.S.C. § 241 because

“[t]he United States Attorney is responsible for the prosecution of all criminal cases within his or

her district.”); Whaley v. Pennsylvania, No. 4:22-CV-00987, 2022 U.S. Dist. LEXIS 231931, at

*34 (M.D. Pa. Dec. 27, 2022) (“Courts have time and time again found that criminal statutes do

not create private causes of action.”). The decision of whether to prosecute, and what criminal

charges to bring, rests with the prosecutor. See United States v. Batchelder, 442 U.S. 114, 124 99

S. Ct. 2198 (1979). Accordingly, Plaintiff’s claims under these criminal statutes must be dismissed

for failure to state a claim upon which relief may be granted.




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       D.      Plaintiff’s Claim Under the Federal Trade Commission Act Fails as a Matter
               of Law.

       Plaintiff appears to assert a claim under the Federal Trade Commission Act, 15 U.S.C. §

45. His claim is not plausible, however, because there is no private cause of action under this

statute. See Peeples v. Portfolio Recovery Assocs., LLC, No. 22-CV-4639-RBS, 2023 U.S. Dist.

LEXIS 12439, at *8 (E.D. Pa. Jan. 24, 2023) (collecting cases) (dismissing a private plaintiff’s

claim under the Federal Trade Commission Act with prejudice). Plaintiff’s claim under 15 U.S.C.

§ 45 must be dismissed with prejudice.

       E.      Plaintiff’s Claim under the Pennsylvania’s Consumer Protection Law Fails as
               a Matter of Law.

       Though not entirely clear, Plaintiff appears to attempt to allege a claim under

Pennsylvania’s Unfair Trade Practices and Consumer Protection Law (“UTPCPL”) based on a

“bait and switch” scheme that resulted in his loss of a two-bedroom HCV and his Live in Aide.

The UTPCPL creates a cause of action for consumers who suffer an ascertainable loss due to unfair

or deceptive acts or practices. 73 P.S. § 201-9.2(a).

       Plaintiff invokes the advertising section of the statute, which prohibits “[a]dvertising goods

or services with intent not to sell them as advertised.” 73 P.S. § 201-2(4)(ix). Claims for false

advertising require proof of three elements: “(1) a defendant’s representation is false; (2) it actually

deceives or has a tendency to deceive; and (3) the representation is likely to make a difference in

the purchasing decision.” Stephanie v. U.S. Bank, No. 1:21-cv-237-SPB, 2022 U.S. Dist. LEXIS

172773, at *33 (W.D. Pa. Sep. 23, 2022) (quoting Ranalli v. Etsy.com, LLC, 570 F. Supp. 3d 301,

307 (W.D. Pa. 2021).

       The only advertisement referenced in the Amended Complaint is one from Birchwood at

Concord Point, noting that two-bedroom apartments were available for rent. See Am. Compl. ¶¶

2, 4. Plaintiff claims he applied for an apartment at Ingerman Concord Point on February 21, 2019.


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Id. at ¶ 2. He alleges he subsequently received an email from Ms. Williams on September 18,

2019 advertising two-bedroom apartments for rent. Id. at ¶ 4. Plaintiff does not allege the

advertisement was false, that it deceived him, or that the representation impacted his decision to

lease an apartment. To the contrary, Plaintiff alleges he received the advertisement after he applied

for an apartment. Nor can any purported representation by Ms. Williams during Plaintiff’s visit to

the property save Plaintiff’s claim, as individual representations do not constitute advertising under

the UTPCPL. See Seldon v. Home Loan Servs., Inc., 647 F. Supp. 2d 451, 466 (E.D. Pa. 2009)

(“Because individual employees or agents of defendants made [the representations at issue], they

do not qualify as advertising and cannot constitute a violation of the UTPCPL’s false advertising

prohibition”); Thompson v. The Glenmede Trust Co., No. 04428, 2003 Phila. Ct. Com. Pl. LEXIS

76, at *1 (Pa. Ct. Com. Pl. Philadelphia County Feb. 18, 2003) (“Individual representations made

by [defendants] upon which [p]laintiffs allegedly relied do not constitute ‘advertising’ as intended

by the UTPCPL.”). As a result, Plaintiff failed to plead any facts support the three elements of a

false advertising claim.

       To the extent Plaintiff’s claims can be read as asserting a claim under Section 201-2(4)(xxi)

of the UTPCL, referred to as the statute’s “catch-all provision” provision, such a claim also fails.

The catch-all provision makes it unlawful to engage in “any other fraudulent or deceptive conduct

which creates a likelihood of confusion or of misunderstanding.” Stephanie, 2022 U.S. Dist.

LEXIS 172773, at *34-35 (citing 73 Pa. Stat. § 201-2(4)(xxi)). To state a claim, Plaintiff must

allege (1) conduct with potential to deceive (2) which creates the likelihood of confusion or

misunderstanding; (3) justifiable reliance; and (4) and ascertainable loss. Palek v. State Farm Fire

& Cas. Co., 535 F. Supp. 3d 382 (W.D. Pa. 2021). Any claim with respect to Plaintiff’s purported

loss of his two-bedroom HCV or live-in aid fails because he does not allege he relied on any




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deceitful conduct by any Ingerman Defendant. To the contrary, Plaintiff’s allegations recount that

he completed multiple documents and couriered sealed envelopes between Ingerman and DCHA.

He does not, however, allege he relied on any representation by an Ingerman Defendant that caused

him to lose his two-bedroom HCV or live-in aide. Nor could he, as Ingerman does not have a hand

in the HCV or live-in aid processes. Plaintiff’s contention related to his purported loss of a live-

in aide is further undermined by his admission that he did not request a live-in aide. See Am.

Compl. ¶ 36 (“I never asked for a Live in Aide.”). Accordingly, Plaintiff suffered no loss by way

of conduct of an Ingerman Defendant. Plaintiff’s claim under the UTPCPL against the Ingerman

Defendants fails a matter of law.

       F.      Plaintiff’s Claim for Intentional Infliction of Emotional Distress Fails as a
               Matter of Law.

       Plaintiff’s final claim is one for intentional infliction of emotional distress. Such a claim

requires a plaintiff to allege: (1) conduct that is extreme or outrageous; (2) conduct that is

intentional or reckless; (3) it must cause emotional distress; and (4) the distress must be severe.

Rosembert v. Borough of E. Landsdowne, 14 F.Supp.3d 631, 645 (E.D. Pa. 2014) (quoting Chuy

v. Phila. Eagles Football Club, 595 F.2d 125, 1273 (3d Cir.1979)). To be actionable, the conduct

must be “so outrageous in character, and so extreme in degree, as to go beyond all possible bounds

of decency, and to be regarded as atrocious, and utterly intolerable in a civilized society.” Cox v.

Keystone Carbon Co., 861 F.2d 390, 395 (3d Cir.1988) (quoting Buczek v. First Nat'l Bank of

Mifflintown, 366 Pa. Super. 551, 531 A.2d 1122, 1125 (Pa. Super. Ct. 1987).

       Plaintiff’s Amended Complaint is wholly devoid of any such allegations. Indeed, he does

not allege any extreme or outrageous conduct that could be considered “beyond all possible bounds

of decency” nor does he allege severe emotional distress. As a result, Plaintiff’s claim for

intentional infliction of emotional distress must be dismissed for failure to state a claim. See Smith



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v. RB Distribution, Inc., 498 F. Supp. 3d 645, 666 (E.D. Pa. 2020) (finding conclusory allegations

that the defendants “intentionally and recklessly harassed and inflicted emotional injury on [the

plaintiff] by subjecting her to outrageous treatment beyond all bounds of decency” insufficient to

state a claim).

V.      CONCLUSION

        For the foregoing reasons, the Ingerman Defendants respectfully request that the Court

grant Defendants’ Motion and dismiss Plaintiff’s Amended Complaint in its entirety with

prejudice.

 Dated: January 30, 2023                          Respectfully submitted,

                                                   /s Martin C. Bryce
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